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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                         8:08CR226
            v.                      )
                                    )
BRUCE BALDWIN,                      )                           ORDER
                                    )
                  Defendant.        )
____________________________________)


               On December 9, 2013, the defendant appeared through counsel on a 4th Amended

Petition for Warrant or Summons for Offender Under Supervision (Filing No. 110). Defendant

was present and represented by Jennifer L. Gilg. Plaintiff was represented Kimberly C. Bunjer,

Assistant United States Attorney. The defendant admitted allegation number 4 contained within

the Petition are true, and the Court found the defendant to be in violation of conditions of his

supervised release. The plaintiff dismissed allegation numbers 1, 2, 3, 5, 6, 7, and 8.

               The Court then proceeded to a dispositional hearing.

               IT IS ORDERED:

               1) The defendant’s supervised release is hereby revoked and the defendant is

sentenced to the custody of the Bureau of Prisons for a term of 1 year and 1 day with credit for

time served.




                                                 1
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               2) That upon completion of the defendant’s incarceration, he will not be placed

on supervised release and any obligations he owes with respect to this case will be concluded.

               DATED this 9th day of December, 2013.

                                             BY THE COURT:

                                             /s/ Lyle E. Strom
                                             ____________________________
                                             LYLE E. STROM, Senior Judge
                                             United States District Court




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                           ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this _______ day of __________, 20__.



                                                    ___________________________________
                                                    Signature of Defendant



                                          RETURN
It is hereby acknowledged that the defendant was delivered on the ______ day of ___________,
20__ to _______________________________________, with a certified copy of this judgment.




                                                         UNITED STATES WARDEN


                                              By: ___________________________________



NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of receipt, above.


                                            CERTIFICATE
It is hereby certified that a copy of this judgment was served upon the defendant this ______ day
of __________________, 20____.




                                                         UNITED STATES WARDEN


                                              By: ________________________________




                                                3
